Case 1:14-ml-02570-RLY-TAB Document 22528 Filed 08/15/22 Page 1 of 2 PageID #:
                                 132873

                  IN THE UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
_________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570
_________________________________________

This Document Relates to:

1:22-cv-01017        1:22-cv-01447        1:22-cv-06823
1:22-cv-01040        1:22-cv-01470        1:22-cv-06836
1:22-cv-01299        1:22-cv-01510        1:22-cv-06837
1:22-cv-01300        1:22-cv-01513        1:22-cv-06838
1:22-cv-01312        1:22-cv-01517        1:22-cv-06842
1:22-cv-01325                             1:22-cv-06843
1:22-cv-01346                             1:22-cv-06845
1:22-cv-01347                             1:22-cv-06846
1:22-cv-01373                             1:22-cv-06848
1:22-cv-01440                             1:22-cv-06856


                                APPEARANCE OF COUNSEL

To: The Clerk of Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case
as counsel for:

       Cook Medical LLC (which is alleged in some cases to be also known as “Cook
       Medical, Inc.”);
       Cook Incorporated (which is alleged in some cases to be doing business as “Cook
       Medical”); and
       William Cook Europe ApS

Dated: August 15, 2022                       /s/ Kip S. M. McDonald
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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 15, 2022, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the CM/ECF participants registered to receive service in this MDL.


                                                    /s/ Kip S. M. McDonald




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